                             UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF MICHIGAN

                                   OFFICE OF THE CLERK OF COURT
226 WEST SECOND ST.                    211 WEST FORT STREET, SUITE 2100                      111 FIRST STREET
FLINT, MI 48502                          DETROIT, MICHIGAN 48226-3211                        BAY CITY, MI 48707
(810) 235-4126                       (313) 234-0065 / WWW.MIEB.USCOURTS.GOV                  (989) 894-8840




    May 2, 2019

    Kathy F. Hunter
    4351 Sherwood Circle
    Canton, MI 48188

    RE: Chapter 7
        Case No. 19-40782

    Dear Ms. Hunter,

          On May 1, 2019 your case was dismissed for failure to pay the Chapter 7 filing fee.
    Although your case was dismissed, you are still obligated to pay the Chapter 7 filing fee.

            Please include this letter with your payment** of $335.00 and send it to the following:

                                  U. S. Bankruptcy Court
                                  226 W. Second Street
                                  Flint, MI 48502

    Your cooperation in this matter will be appreciated. If you have any questions, please
    call our Financial Section at 810-235-4865.

                                  Sincerely,
                                  /s/ Jennifer Clark
                                  Deputy in Charge



    **NO PERSONAL CHECKS, DEBIT OR CREDIT CARDS will be accepted from a debtor. Payments
    submitted to the clerk must be cash, cashiers’ check or money order. Credit cards will only be
    accepted from attorneys through pay.gov.
    cc: Court File




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